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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 ZHENKAI SUN, WEI GAO, YANGYANG GAO,
 and CHARLES CHIPENGULE, on behalf of
 themselves and others similarly situated,

                           Plaintiffs,                           JUDGMENT
                                                                 16 CV 4840 (RPK)(LB)
                           -against-
 SUSHI FUSSION EXPRESS, INC., d/b/a Sushi
 Fussion, MICHAEL M. YUGADAEV, SUSHI
 FUSSION LLC, d/b/a Sushi Fussion, SUSHI
 FUSSION OF KINGS HWY, INC., d/b/a Sushi
 Fussion, LEVA KATANOV, LEVI KATANOV, LEO
 KATANOV, SUSHI FUSSION FIVETOWN, INC.,
 d/b/a Sushi Fussion, SUSHI FUSSION OF 47™
 STREET INC., d/b/a Sushi Fussion, SUSHI
 FUSSION OF FOREST HILLS, INC., d/b/a
 Sushi Fussion, SUSHI FUSSION OF NYC INC.,
 d/b/a Sushi Fussion, and HIBACHI EXPRESS
 MAIN ST. INC., d/b/a Hibachi Express,

                            Defendants.
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          An Order of Honorable Rachel P. Kovner, United States District Judge, having been filed

 on January 3, 2023, adopting the Report and Recommendation of Magistrate Judge Lois Bloom,

 dated December 6, 2022, which recommended that plaintiffs’ motion for a default judgment

 against defendants Yugadaev, Sushi Fussion Express, and Hibachi Express should be granted as

 to liability and plaintiffs should be awarded damages as stated in this Report and

 Recommendation; that Plaintiff Wei Gao should be awarded a total of $81,821.62 against

 defendants to increase by $6.76 per day until the entry of judgment and post-judgment interest as

 set forth in 28 U.S.C. 1961(a); that Plaintiff Zhenkai Sun should be awarded a total of

 $91,748.56 against defendants to increase by $7.46 per day until the entry of judgment and post-

 judgment interest as set forth in 28 U.S.C. 1961(a); that Plaintiff Eddie Gao should be awarded a
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 total of $351,236.30 against defendants to increase by $31.75 per day until the entry of judgment

 and post-judgment interest as set forth in 28 U.S.C. 1961(a); that Plaintiff Charles Chipengule

 should be awarded a total of $69,370.90 against defendants to increase by $5.08 per day until the

 entry of judgment and post-judgment interest as set forth in 28 U.S.C. 1961(a); that if any

 amount of the judgment remains unpaid after ninety-days or ninety-days after the expiration of

 the time to appeal, the total amount of the judgment should increase as provided by NYLL §

 198(4); and the Clerk of Court having calculated the additional interests at the rates set forth

 above from the date of the R&R through the date of entry of judgment, and the interests being

 $209.56(Wei Gao), $231.26 (Sun); $984.25(Eddie Gao) and $157.48(Chipengule); it is

        ORDERED and ADJUDGED that plaintiffs’ motion for a default judgment against

 defendants Yugadaev, Sushi Fussion Express, and Hibachi Express is granted as to liability; that

 Plaintiff Wei Gao is awarded a total amount of $82,031.18 plus post-judgment interest as set

 forth in 28 U.S.C. 1961(a); that Plaintiff Zhenkai Sun is awarded a total amount of $ 91,979.82

 and post-judgment interest as set forth in 28 U.S.C. 1961(a); that Plaintiff Eddie Gao is awarded

 a total amount of $352,220.55 plus post-judgment interest as set forth in 28 U.S.C. 1961(a); that

 Plaintiff Charles Chipengule is awarded a total amount of $ 69,528.38; and that if any amount of

 the judgment remains unpaid after ninety-days or ninety-days after the expiration of the time to

 appeal, the total amount of the judgment should increase as provided by NYLL § 198(4).

 Dated: Brooklyn, NY                                           Brenna B. Mahoney
        January 6, 2023                                        Clerk of Court

                                                               By: /s/Jalitza Poveda
                                                                       Deputy Clerk
